        Case: 4:14-cv-00333-BYP Doc #: 1 Filed: 02/14/14 1 of 5. PageID #: 1




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO

                                                   :   CASE NO.: ______
Kassidy Arkwright                                  :
40230 Kelly Park Road                              :
Leetonia, Ohio 44431                               :
                                                   :
                                                   :
                        Plaintiff,                 :   JUDGE
       v.                                          :
                                                   :
Oxford Law, LLC                                    :
311 Veterans Highway, Suite 100A                   :
Levittown, Pennsylvania 19056                      :   COMPLAINT
                                                   :
and                                                :
                                                   :
JOHN AND JANE DOES 1-10                            :
                                                   :   A Trial by the Maximum Number of Jurors
                        Defendants.                :   is hereby Demanded
                                                   :
                                                   :
                                                   :

       Here comes Plaintiff, Kassidy Arkwright, and sets forth a Complaint against Defendant

Oxford Law, LLC and Defendants John and Jane Does 1 – 10 as follows:

                                          JURISDICTION

       1.        This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), in their illegal efforts to

collect a consumer debt.

       2.        Jurisdiction is proper in the Court pursuant to 15 U.S.C. § 1692k(d).

       3.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business here and a substantial portion of the acts giving rise to this action

occurred here.
        Case: 4:14-cv-00333-BYP Doc #: 1 Filed: 02/14/14 2 of 5. PageID #: 2




                                             PARTIES

       4.      Plaintiff, Kassidy Arkwright (hereafter “Plaintiff”), is an adult individual whose

residence is in, Leetonia, Ohio, and is a “consumer” as the term is defined by 15 U.S.C.

§ 1692a(3).

       5.      Defendant, Oxford Law, LLC (“Oxford”), is a Pennsylvania business entity with

an address of 311 Veterans Highway, Suite 100A, Levittown, Pennsylvania 19056, operating as

a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Defendants John and Jane Does 1 – 10 (together with Oxford, the “Defendants”)

are the individual collectors for Oxford, but whose names are unknown. The Complaint will be

amended to add their names when they are determined through discovery.

       7.      Oxford at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      An individual other than Plaintiff (the “Debtor”) incurred a financial obligation

(the “Debt”) to an original creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §

1692a(5).

       10.     The Debt was purchased, assigned or transferred to Oxford for collection, or

Oxford was employed by the Creditor to collect the Debt.

       11.     Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Oxford Engages in Harassment and Abusive Tactics

       12.     Within the last year, Oxford contacted Plaintiff in an attempt to collect the Debt.

                                                  2
         Case: 4:14-cv-00333-BYP Doc #: 1 Filed: 02/14/14 3 of 5. PageID #: 3




         13.   Oxford called told Plaintiff’s stepbrother, boyfriend and boyfriend’s father and

told them each that it was attempting to locate Plaintiff regarding a debt.

         14.   When Plaintiff called Oxford, it was revealed that Oxford was attempting to

collect the Debt not from Plaintiff, but rather the Debtor, even though Oxford had told third

parties that it was attempting to reach Plaintiff regarding the Debt.

         15.   Oxford’s false and misleading collection tactics caused Plaintiff a great deal of

stress and embarrassment.

   C. Plaintiff Suffered Actual Damages

         16.   Plaintiff has suffered and continues to suffer actual damages as a result of

Defendants’ unlawful conduct.

         17.   As a direct consequence of Defendants’ acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

                                           COUNT I
                    (Violations of the Fair Debt Collections Practices Act)
                                   (15 U.S.C. § 1692, et seq.)

         18.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

         19.   Defendants engaged in behavior the natural consequence of which was to harass,

oppress, or abuse Plaintiff in connection with collection of the Debt, in violation of 15 U.S.C. §

1692d.

         20.   Defendants used false, deceptive and/or misleading representations or means in

connection with collection of the Debt, in violation of 15 U.S.C. § 1692e.

         21.   Defendants employed false and deceptive means to collect the Debt, in violation

of 15 U.S.C. § 1692e(10).
                                                  3
       Case: 4:14-cv-00333-BYP Doc #: 1 Filed: 02/14/14 4 of 5. PageID #: 4




       22.    Defendants used unfair and unconscionable means to collect a debt, in violation

of 15 U.S.C. § 1692f.

       23.    The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the FDCPA.

       24.    Plaintiff is entitled to damages as a result of Defendants’ violations.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                        § 1692k(a)(3);

                  4. Punitive damage; and

                  5. Such other and further relief as this Court may determine to be just and

                        proper.

Dated: February 14, 2014
                                             Respectfully submitted,

                                             By:    /s/ Sergei Lemberg

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                                                4
        Case: 4:14-cv-00333-BYP Doc #: 1 Filed: 02/14/14 5 of 5. PageID #: 5




                                     JURY DEMAND

        Plaintiff hereby makes a demand for trial by the maximum number of jurors allowed by

law, on all triable issues.




                                                           /s/ Sergei Lemberg
                                                         Sergei Lemberg, Esq.




                                             5
